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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV 12-7925 ABC (SHx)                                             Date    November 6, 2012
 Title            Delray Richardson, et al. v. CBS Studios, Inc.




 Present: The                    Audrey B. Collins, United States District Judge
 Honorable
                Angela Bridges                              Not Present                            N/A
                Deputy Clerk                         Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:

                             None                                                   None
 Proceedings:                 ORDER GRANTING Unopposed Motion to Dismiss (In Chambers)

       Pending before the Court is a motion to dismiss filed on October 12, 2012 by Defendant CBS
Studios, Inc., d/b/a CBS Television Distribution. (Docket No. 8.) The Court finds this matter
appropriate for resolution without oral argument and VACATES the November 19, 2012 hearing date.
Fed. R. Civ. P. 78; Local Rule 7-15. The motion has been unopposed and is GRANTED.

        Pursuant to Local Rule 7-9, Plaintiffs’ opposition was due no later than 21 days before the date
of the hearing on the motion, that is, October 29, 2012. Nothing has been filed. Under Local Rule 7-12,
Plaintiffs’ failure to timely oppose “may be deemed consent to the granting or denial of the motion.”
Even though Plaintiffs are pro se, they must still follow the Federal Rules and the Court’s Local Rules.
Local Rule 83-2.10.3. For this reason, the Court GRANTS Defendant’s motion.

        The Court has also reviewed the merits of Defendant’s motion and finds that dismissal of the
challenged claims is warranted on the ground asserted by Defendant – that they are preempted by the
Copyright Act. See 17 U.S.C. § 301(a); Montz v. Pilgrim Films & Television, Inc., 649 F.3d 975, 979
(9th Cir. 2011) (en banc). Therefore, claims IV through VIII of Plaintiffs’ complaint are dismissed
WITH PREJUDICE.

         The Scheduling Conference set for December 17, 2012 remains on calendar.

         IT IS SO ORDERED.
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                                                        Initials of Preparer                  ljw for AB




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